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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                          ENTERED
                                                                      November 10, 2020
                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS                     David J. Bradley, Clerk

                           GALVESTON DIVISION

JOE SHIELDS,                              §
                                          §
        Plaintiff,                        §
VS.                                       §   CIVIL ACTION NO. 3:19-CV-390
                                          §
ELEVATED ENERGY SOLUTIONS                 §
LLC, et al.,                              §
                                          §
        Defendants.                       §

                                      ORDER

       Before the court is plaintiff Joe Shields’s motion to voluntarily dismiss

defendants Trismart Solar LLC, Mark Bench, and Jodie Bench. Dkt. 37. That

motion is granted. Accordingly, Shields’s claims against Trismart Solar LLC, Mark

Bench, and Jodie Bench are dismissed with prejudice.

       Each party shall bear its own attorneys’ fees and costs.

       Signed on Galveston Island on this, the 10th day of November, 2020.



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                                           JEFFREY VINCENT BROWN
                                         UNITED STATES DISTRICT JUDGE
